Case 2:04-cv-02771-BBD-dkv Document 137 Filed 08/02/05 Page 1 of 5 Page|D 175

F“_ED BY D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEFOS AUG ...2 AH ']: 50
WESTERN SECTION AT MEMPHIS

 

MMAS M. GOULD
` u.s. dam cum
In re COPPER TUBING LITIGATION Master File No_ 04_2771 Wm {:,;: r`§§t}MS
This Document Relates to: Honorable Judge Beroice B. Donald

Magistrate Judge Diane K. Vescovo
ALL ACTIONS

 

ORDER GRANTING PLAINTIFFS’ UNOPPOSED
MOTION TO EXCEED PAGE LIMITATION

IT APPEARING to the Court that the Plaintiffs’ Unopposed Motion to Exceed Page
Limitation in connection With Plaintiffs’ Memorandum ofLaw in Opposition to Various Defendants’
Motions to Dismiss the Complaint is well taken and Should be granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiffs are
hereby permitted to exceed the page limitation up to and including a total of twenty-eight (28) pages

in connection with Plaintiffs’ Mernorandum ofLaw in Opposition to Various Defendants’ Motions

DATE: // GUJJ/

to Dismiss the Complaint.

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 137 in
case 2:04-CV-02771 Was distributed by faX, mail, or direct printing on
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